                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                       WESTERN DIVISION

                                                  )
    Devin G. Nunes,                               )   Case No. 5:19-cv-04064-CJW-MAR
                                                  )
                Plaintiff,                        )   Defendants’ Reply Brief in Further
                                                  )   Support of Their Motion to Dismiss, to
    v.
                                                  )   Strike the Amended Complaint Pursuant
    Ryan Lizza and Hearst Magazine Media,         )   to Cal. Civ. Proc. Code § 425.16, and to
    Inc.,                                         )   Strike Pursuant to Fed. R. Civ. P. 12(f)
                                                  )
                Defendants.                       )   (Oral Argument Scheduled
                                                  )   for April 24, 2020, at 2:30 p.m.)


           Defendants Ryan Lizza and Hearst Magazine Media, Inc. respectfully submit this reply

brief in further support of their pre-answer motion to dismiss or strike the Amended Complaint

filed in this case by Plaintiff Devin Nunes, see ECF No. 23, and in reply to Congressman

Nunes’s Resistance and Memorandum in Opposition to the Motion, see ECF No. 38 (the

“Resistance” or “Res.”).*




*
        Except where defined herein, all capitalized terms in this reply brief have the same
definition as in Defendants’ opening brief, see ECF No. 37 (“Opening Brief” or “Opening Br.”).



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            The Resistance leaves key dispositive arguments unchallenged. It mainly presents string

     cites1—which get the law wrong in several regards2—with little attempt to tether the principles

     from those authorities to the statements at issue here.3 The Resistance does not save

     Congressman Nunes’s claims, and the Motion should be granted.

                                                 Argument

I.          Congressman Nunes’s Amended Complaint Should Be Dismissed.

         A. The Resistance Largely Ignores the Allegedly Defamatory Explicit Statements.

            1.      Congressman Nunes ignores at least six of the allegedly defamatory statements.

            Congressman Nunes lists 11 allegedly defamatory statements in his Amended Complaint.

     Am. Compl. ¶ 18. Defendants moved to dismiss his defamation claim as it concerns all of them.

     Opening Br. 13-20. The Resistance addresses only five statements, ignoring the rest.4 He has


     1
              Congressman Nunes argues that Iowa law supplies the rule of decision. Res. 8-10. This
     is not correct, see Opening Br. 29-31, and the application of California law results in the
     application of the state’s anti-SLAPP statute, id. at 31-32. However, Congressman Nunes does
     not dispute that, in considering the elements of his claims, there is “no true conflict because the
     law of defamation in both California and Iowa, infused with the First Amendment’s
     requirements, are congruent.” Id. at 10.
     2
              For example, Congressman Nunes spends two pages describing libel per se under Iowa
     law, Res. 11-12, but, as here, when the “defendant is a media defendant, . . . presumptions of
     fault, falsity, and damages are not permissible, and thus the common law doctrine of libel per se
     cannot apply.” See Bierman v. Weier, 826 N.W. 2d 436, 443 (Iowa 2013).
     3
              For example, Congressman Nunes argues that the challenged statements are “of and
     concerning” him because his “name and references . . . are all over the” Article. Res. 18. He
     cites nothing for this proposition. The fact that some statements in the Article might be “of and
     concerning” him does not mean that all statements in the Article are “of and concerning” him.
     4
              The allegedly defamatory statements that the Resistance fails to address are as follows:
     (1) “Devin; his brother, Anthony III; and his parents, Anthony Jr. and Toni Dian, sold their
     California farmland in 2006. Anthony Jr. and Toni Dian, who has also been the treasurer of
     every one of Devin’s campaigns since 2001, used their cash from the sale to buy a dairy eighteen
     hundred miles away in Sibley, a small town in northwest Iowa where they—as well as Anthony
     III, Devin’s only sibling, and his wife, Lori—have lived since 2007,” Am. Compl. ¶ 18(d); (2) “I
     laid out the facts I had uncovered in Sibley, including the intimidation of sources and the Devin
     Nunes angle, and asked him for advice. ‘I’d tell that story,’ he said. He paused and added,
     ‘We’re a sanctuary church, if you need a place to stay. You’re safe here!’,” id. ¶ 18(j); (3) “Is it
     possible the Nuneses have nothing to be seriously concerned about? Of course, but I never got
     the chance to ask because Anthony Jr. and Representative Nunes did not respond to numerous
     requests for interviews,” id. ¶ 18(k); (4) “‘They are immigrants and Devin is a strong supporter




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therefore conceded that the unaddressed statements are not actionable.

       2.      Statements concerning Congressman Nunes’s actions as Chairman of the House
               Intelligence Committee are protected opinion.

       Congressman Nunes challenges the following statements in the Article: (1) He “used the

Intelligence Committee to spin a baroque theory about alleged surveillance of the Trump

campaign that began with a made-up Trump tweet about how ‘Obama had my ‘wires tapped’ in

Trump Tower’,” Am. Compl. ¶ 18(c); and (2) he used his position as Chairman of the House

Intelligence Committee as a “battering ram to discredit the Russia investigation and protect

Donald Trump at all costs, even if it means shredding his own reputation and the independence

of the historically nonpartisan committee in the process.” Am. Compl. ¶ 18(b). In a single

sentence, Congressman Nunes argues these statements are not protected opinion because they

“accuse [him] of abusing his position as Chairman of the House Intelligence Committee,

obstruction of the Russia investigation, prejudice, impartiality and unethical behavior.” Res. 17.

These phrases and accusations are also subjective statements that are not capable of being

objectively proven true or false. Even adopting Congressman Nunes’s (mis)characterization of

Defendants’ statement, he merely swaps one set of opinions for another.




of Mr. Trump, and Mr. Trump wants to shut down all of the immigration, and here is his family
benefiting from immigrant labor’, documented or not,” id. ¶ 18(g); (5) “Other dairy farmers in
the area helped me understand why the Nunes family might be so secretive about the farm:
Midwestern d[ai]ries tend to run on undocumented labor,” id. ¶ 18(f); (6) “There was no doubt
about why I was being followed. According to two sources with firsthand knowledge, NuStar
did indeed rely, at least in part, on undocumented labor. One source, who was deeply connected
in the local Hispanic community, had personally sent undocumented workers to Anthony Nunes
Jr.’s farm for jobs … asserting that the farm was aware of their status,” Id. ¶ 18(i) (Congressman
Nunes claims that he “ha[s] no knowledge of who the dairy farm hired,” Res. 17). In addition,
Congressman Nunes fails to address all but the italicized portion of the following statement:
“Devin Nunes was the public figure at the heart of this, and he had no financial interest in his
parents’ Iowa dairy operation. On the other hand, he and his parents seemed to have concealed
basic facts about the family’s move to Iowa. It was suspicious. And his mom, who co-owns the
Sibley dairy, is also the treasurer of his campaign.” Am. Compl. ¶ 18(h).



                                   2
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       But Congressman Nunes misses the point. That these opinions are critical of him does

not transform them into facts. A reasonable reader would understand that Congressman Nunes

does not literally use a “battering ram.” Whether he has “sp[u]n a baroque theory” or

“shredd[ed] his own reputation and the independence of the historically nonpartisan committee”

are not provably true or false. For these and other reasons, which Congressman Nunes also fails

to address, the statements are protected opinion. See Opening Br. 17-18.5

       3.      Statements that Congressman Nunes kept secret the family farm’s move to Iowa
               are nondefamatory statements of opinion.

       Congressman Nunes alleges the following statements are defamatory, at least insofar as

they are “of and concerning” him: (1) “Devin Nunes has a secret,” Am. Compl. ¶ 18(a); (2)

“Why would the Nuneses, Steve King, and an obscure dairy publication all conspire to hide the

fact that the congressman’s family sold its farm and moved to Iowa?,” id. ¶ 18(e); and (3) “On

the other hand, he and his parents seemed to have concealed basic facts about the family’s move

to Iowa,” id. ¶ 18(h). But Congressman Nunes fails to explain why these facts are defamatory at

all. “Because there is nothing illegal, shameful, or wrong about the fact that Congressman

Nunes’s relatives moved the family farm to Iowa, as a matter of law, it is not defamatory to state


5
        That Congressman Nunes would argue that these statements are defamatory and
actionable speaks to how far he has strayed from foundational precedent securing First
Amendment freedoms. He cites Gertz v. Robert Welch, Inc. for the proposition that “there is ‘no
constitutional value in false statements of fact,’” Res. 16, but ignores the Supreme Court’s
explanation, three sentences later in Gertz, as to why many false statements still should not be
punished by libel laws: “Although the erroneous statement of fact is not worthy of constitutional
protection, it is nevertheless inevitable in free debate. . . . And punishment of error runs the risk
of inducing a cautious and restrictive exercise of the constitutionally guaranteed freedoms of
speech and press.” 418 U.S. 323, 340 (1974). And he revealingly cites to English common law
for the proposition that “libel of a public official [is] deemed an offense most dangerous to the
people, and deserving of punishment.” Res. 1 (citation omitted). But that is not the
Constitutional tradition or law of this country or the individual states. See N.Y. Times Co. v.
Sullivan, 376 U.S. 254 (1964); Bridges v. California, 314 U.S. 252, 264 (1941) (in reversing
contempt conviction for newspaper reporting on ongoing litigation: “[T]o assume that English
common law in this field became ours is to deny the generally accepted historical belief that one
of the objects of the Revolution was to get rid of the English common law on liberty of speech
and of the press.”) (citation omitted).

                                   3
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that Congressman Nunes chose to keep that fact a secret.” Opening Br. 14 (citing cases).

       The only argument that Congressman Nunes makes concerning these statements is that

they cannot be protected opinion because the facts on which the opinion is based are “provably

false.” Res. at 17. Not so. The disclosed facts are: (i) The Nunes family moved its farming

operation to Iowa over a decade ago, and (ii) this (a) has attained little-to-no press attention, (b)

was absent from a press release issued by Steve King’s office in connection with Congressman

Nunes’s visit to the area, and (iii) was intentionally omitted from a regional dairy industry

publication’s story about the Nunes family farm, at the family’s request. Opening Br. 16-17.

Congressman Nunes does not dispute these facts.6 And Congressman Nunes does not address

the several other reasons the Article’s reporting that he has a “secret” is protected opinion.7

    B. Congressman Nunes Has Failed to State a Claim for Defamation by Implication.

       The First Amendment requires that, to be an actionable implication, “the communication,

by the particular manner or language in which the true facts are conveyed, [must] suppl[y]

additional, affirmative evidence suggesting that the defendant intends or endorses the

defamatory inference.” White v. Fraternal Order of Police, 909 F.2d 512, 520 (D.C. Cir. 1990)

(emphasis added) (citing Janklow v. Newsweek, Inc., 759 F.2d 644, 648-49 (8th Cir. 1985)

(claim for defamation by implication may only be maintained if “article in question can[] be read

to imply that [the defendant] espoused the validity of the” the alleged implication), affirming


6
        Even if the constituent facts that supported this opinion were untrue, it would not matter;
under the governing California law, the disclosed facts must be both “false and defamatory” to
make the statement actionable. Franklin v. Dynamic Details, Inc., 116 Cal. App. 4th 375, 387
(2004) (emphasis added). There is nothing defamatory about these disclosed facts.
7
        As explained in the Opening Brief, such statements are not capable of being proven true
or false and lack an easily defined meaning. The tone of the Article as a whole, a work of
literary journalism, is unlike a traditional news report; it is laden with adjectives and
introspective questions intended to reveal Lizza’s mental impressions. And Congressman Nunes
embraces the characterization of Lizza as a “a high-profile, left-wing political journalist, well-
known for his extreme bias towards” Congressman Nunes, Am. Compl. ¶ 1, from whom readers
would anticipate works of persuasion rather than straight news reporting. Opening Br. 14-15.

                                   4
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summ. j. in full on reh’g en banc, 788 F.2d 1300 (8th Cir. 1986)). See Opening Br. 21-24.

       Congressman Nunes does not dispute that the Janklow/White rule applies to this case. He

declines to address it, or even cite Janklow, White, or their progeny. He does not point to any

allegation or evidence of intent in the publication itself that could satisfy his high burden. Yet

again, Congressman Nunes has conceded the point through silence.

       Even assuming the Janklow/White rule would not apply, no reasonable reading of the

Article supports Congressman Nunes’s allegedly defamatory implication. Congressman Nunes

proffers ipse dixit that the Article implies that he “conspired or colluded with his family and

others to hide or cover-up a ‘Politically Explosive Secret’: that [his] ‘family farm’ employs

undocumented labor.” Res. 15. But he ignores the fact that the Article, reviewed in its entirety,

includes several statements refuting that inference. The Article reports that Congressman Nunes

“ha[s] no financial interest in his parents’ Iowa dairy operation”; the Article neither states nor

suggests that Congressman Nunes is involved in the operation of the farm; and any defamatory

implication is undermined by the following disclaimer: “Is it possible the Nuneses have nothing

to be seriously concerned about? Of course . . . .” Sitwala Decl., Exs. A, B (emphasis added).8

       Congressman Nunes also fails to address the fact that—as explained in the Opening

Brief—a horizontal line appears in the Article between Congressman Nunes’s “secret”

(addressed in the first 14 paragraphs) from what Lizza learns during his investigation, including

NuStar’s hiring of undocumented laborers reported in the 54th paragraph. Id. These signal to

readers that Congressman Nunes’s “secret,” described in the beginning, is separate from the


8
       Congressman Nunes accuses Defendants of “divid[ing] the [A]rticle into parts and
analyz[ing] each of the parts independently.” Res. 16. Yet it is Congressman Nunes who is
ignoring the Article as a whole, its tone, and the overall context. And although he “disputes th[e]
characterization” of the Article as a work of literary journalism, Res. 4 n.3, he does not explain
why that characterization is inaccurate.



                                   5
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farm’s hiring practices, described near the end of the Article. These cues distinguish the Article

from the cases relied upon by Plaintiff,9 and Congressman Nunes cannot make a claim from his

“extra sensitive perception.” Forsher v. Bugliosi, 608 P.2d 716, 723 (Cal. 1980).10

       Lastly, Congressman Nunes does not directly address Defendants’ argument that—even

assuming the Article could support the alleged defamatory implication—that implication would

be nonactionable opinion. Opening Br. 26-27. The closest Congressman Nunes comes to

addressing this point is a conclusory argument that “whether Plaintiff knew that his family’s

farm employed ‘undocumented labor’” and/or “conspired with anyone in a ‘secret’ effort to”

cover it up is a “provably false assertion[] of fact.” Res. 17. This ignores the context of the

Article as a whole, its broader social context, its tone and setting, and the undisputed disclosed

facts on which the alleged implication is premised. Opening Br. 26-27.

    C. The Resistance Fails to Explain How Congressman Nunes’s Allegation of Actual
       Malice Is “Plausible.”

       Congressman Nunes argues that actual malice “cannot be resolved on a motion to dismiss

under Rule 12(b)(6),” Res. 19, but does not dispute that, under Twombly and Iqbal, the Court

must consider whether he has alleged facts sufficient to make it plausible that Defendants acted

with “actual malice,” that is, that they knew that any of the challenged statements were false, or

that they were published with reckless disregard for whether they were false or not, meaning

subjective awareness of probable falsity, Opening Br. 9-10, 27-28, see Gertz, 418 U.S. at 35 n.6.


9
        For example, in Stevens, the Iowa Supreme Court held that a claim for defamation by
implication was actionable where the defendant had omitted a key fact, which would leave the
readers with the false and defamatory impression that the plaintiff had fabricated prior sports
opinion columns. Stevens v. Iowa Newspapers, Inc., 728 N.W.2d 823, 831 (Iowa 2007).
Congressman Nunes has not identified any omitted facts that, had they been included, would
have refuted the allegedly defamatory implication.
10
        These design elements, together with the above-referenced statements in the Article
refuting the alleged implication, undermine any suggestion that the “manner or language” of the
Article conveys that Defendants “intend[ed] or endors[ed] the defamatory inference.” White,
909 F.2d at 520.

                                    6
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        Congressman Nunes never proffers plausible facts that support the inference that

Defendants published any of the challenged statements with actual malice. For example, the

Amended Complaint alleges that Defendants did not adhere to “journalistic standards in writing,

editing and publishing” or “standards of ethics,” Am. Compl. ¶ 35(a)—but Congressman Nunes

never specifies how such “standards” were violated, and how that violation manifested itself in

any allegedly defamatory statements. He parrots a statement in Eramo v. Rolling Stone, LLC that

evidence that the defendant “conceived a story line in advance of an investigation and then

consciously set out to make the evidence conform to the preconceived story is evidence of actual

malice,” 209 F. Supp. 3d 862, 872 (W.D. Va. 2016)—but proffers no facts to support this

conclusory allegation here. He accuses Defendants of “manufactur[ing] the false statements”—

but he (i) never identifies which statements were supposedly fabricated, or (ii) provides any

factual basis for that conclusory allegation. Congressman Nunes makes much of his assertion

that Defendants have “republished” the article by tweeting about it recently11—but that cannot

support an inference of actual malice here; that Congressman Nunes filed a lawsuit alleging that

the Article is inaccurate has not caused Defendants to harbor any doubts about its accuracy.12

     D. Congressman Nunes Has Failed to Plead a Civil Conspiracy Claim.

        Congressman Nunes concedes that a claim for civil conspiracy is not itself actionable; it

will only live if an underlying tort claim survives. Res. 22. The claim should be dismissed.



11
         Tweeting a link to the Article does not constitute “republication” of the Article, as a
matter of law. See Sundance Image Tech., Inc. v. Cone Editions Press, Ltd., No. 02 CV 2258 JM
(AJB), 2007 WL 935703, at *7 (S.D. Cal. Mar. 7, 2007) (“[T]he court finds that such linking is
more reasonably akin to the publication of additional copies of the same edition of a book, which
is a situation that does not trigger the republication rule.”).
12
         See Edwards v. Nat’l Audubon Soc’y, Inc., 556 F.2d 113, 121 (2d Cir. 1977) (“Surely
liability under the ‘clear and convincing proof’ standard of New York Times v. Sullivan cannot be
predicated on mere denials, however vehement; such denials are so commonplace in the world of
polemical charge and countercharge that, in themselves, they hardly alert the conscientious
reporter to the likelihood of error.”).

                                     7
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II.           Congressman Nunes’s Amended Complaint Should Be Stricken Pursuant to
              California’s Anti-SLAPP Law

           A. California Law Supplies the Rule of Decision.

              Congressman Nunes agrees that, for tort claims, Iowa courts apply the “most significant

      relationship” test reflected in the Restatement (Second) of Conflicts. Res. 8. For claims of

      defamation arising from content that is published in multiple states (such as the Article), “the

      state of most significant relationship will usually be the state where the person was domiciled at

      the time.” Opening Br. 30 (quoting Restatement (Second) of Conflict of Laws (the

      “Restatement”) § 150(2)). In most instances that will be “the state where the plaintiff has

      suffered the greatest injury by reason of his loss of reputation.” Id. (citing cases).

              Congressman Nunes ignores Section 150 of the Restatement entirely. He also ignores the

      many defamation cases cited in the Opening Brief applying Section 150 that concluded that the

      law of the state of plaintiff’s domicile supplies the rule of decision.13 Instead, Congressman

      Nunes quotes Perez v. CRST International, Inc., which does not involve a defamation claim. 355

      F. Supp. 3d 765 (N.D. Iowa 2018) (holding that California wage and hour laws apply). Perez

      concerns the application of Section 145 of the Restatement—entitled “The General Principle”—

      the comments to which direct readers to Section 150 for multistate defamation claims, as it is a

      “particular tort[] as to which it is possible to state rules of greater precision.” Restatement

      (Second) of Conflict of Laws § 145, cmt. a. Following the Restatement, the Court should hold

      that California law supplies the rule of decision in this case.14


      13
             For example, in a directly on-point application of this rule, a New York federal court
      applied California law to a defamation claim brought by a California congressman because,
      although “his reputation necessarily was a matter of national significance, . . . it mattered most in
      California where he had been elected to office, and where the people whom he represented
      resided.” Id. at 31 (citing Condit v. Dunne, 317 F. Supp. 2d 344 (S.D.N.Y. 2004)).
      14
             Plaintiff cites to Keeton v. Hustler Magazine, Inc., 465 U.S. 770 (1984). That case



                                           8
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   B. The California Anti-SLAPP Law Applies in Federal Court.

       Plaintiff does not dispute that the circuit that embraces California has held that the

California’s anti-SLAPP statute is a “substantive immunity from suit.” See Batzel v. Smith, 333

F.3d 1018, 1025-26 (9th Cir. 2003). Nor does he dispute that courts outside the Ninth Circuit

Court of Appeals applying California law as the rule of decision have applied California’s anti-

SLAPP law to diversity actions. Opening Br. 31. Instead, Congressman Nunes points to the

circuit split in the application of various anti-SLAPP laws in federal court generally. Res. 5-8.15

       This misses the point; Defendants do not ask the Court to apply the anti-SLAPP statute in

a manner that could even arguably cause a conflict with the Federal Rules. Rather, the motion

challenges “alleged deficiencies in the plaintiff’s complaint,” and thus it “must be treated in the

same manner as a motion under Rule 12(b)(6) except that the attorney’s fee provision of §

425.16(c) applies.” Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d

828, 834 (9th Cir.), amended, 897 F.3d 1224 (9th Cir. 2018), cert. denied, 139 S. Ct. 1446

(2019). As a sister district court has observed, Planned Parenthood’s “manner of harmonizing

the Federal Rules and California’s anti-SLAPP statute is entirely sensible.” Vangheluwe v. Got

News, LLC, 365 F. Supp. 3d 836, 844 (E.D. Mich. 2019), appeal docketed, No. 19-1162 (6th Cir.

Feb. 19, 2019) (applying California anti-SLAPP statute).16 As applied, “California’s anti-


concerned whether an out-of-state defamation defendant was subject to personal jurisdiction in
New Hampshire. Defendants are not challenging personal jurisdiction. Notably, subsequent
reported opinions in the Keeton case suggest that the district court applied out-of-state
substantive law of defamation, notwithstanding the personal jurisdiction ruling. See generally
Keeton v. Hustler Magazine, Inc., 549 A.2d 1187 (N.H. 1988).
15
        Congressman Nunes does not explain the relevance of decisions concerning other states’
anti-SLAPP statutes. See Metabolic Research, Inc. v. Ferrell, 693 F.3d 795, 799 (9th Cir. 2012)
(“[W]hile all of the [anti-SLAPP] statutes have common elements, there are significant
differences as well, so that each state’s statutory scheme must be evaluated separately.”).
16
        Vangheluwe was not followed in Lampo Grp., LLC v. Paffrath, No. 3:18-CV-01402,
2019 WL 3305143, at *2 (M.D. Tenn. July 23, 2019), a case cited by Congressman Nunes amid
a multi-page string cite. See Res. 7. But Lampo did not address Planned Parenthood and how it



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   SLAPP statute just puts some extra skin in the game: if [Defendants] wins [their] motion, [they]

   gets fees; but if the motion is frivolous or solely to delay, [Congressman Nunes] gets fees.” Id.

   at 844-45. This tracks the rule that fee-shifting provisions are, as a general matter, substantive

   laws that apply in diversity cases in federal court. Lamb Eng’g & Constr. Co. v. Neb. Pub.

   Power Dist., 103 F.3d 1422, 1434 (8th Cir. 1997) (“In a diversity case ‘where the state law does

   not run counter to a valid federal statute or rule of court, and usually it will not, state law denying

   the right to attorney’s fees or giving a right thereto, which reflects a substantial policy of the

   state, should be followed.” (citation omitted)).

III.      This Court Should Strike the Amended Complaint Pursuant to Rule 12(f).

          Congressman Nunes’s only argument for the inclusion of scandalous, impertinent, and

   irrelevant allegations in his Amended Complaint is that they “explain why members of the Nunes

   family were fearful of Lizza.” Res. 24. This is highly misleading; the scandalous allegations are

   proffered as statements of fact in the first paragraph of the Amended Complaint and original

   complaint, not as an explanation for third parties’ reactions to Lizza’s reporting. Opening Br. 34

   n.14. In any event: Setting aside whether (i) the family members in fact harbored these

   supposed fears of Lizza, and (ii) such fears would be rational, Congressman Nunes makes no

   attempt to argue that his family members’ alleged fears are relevant to his claims. They have

   nothing to do with Congressman Nunes, or the accuracy of the reporting concerning him in the

   Article.

                                                Conclusion

          For the reasons stated above and the Opening Brief, the Motion should be granted in full.




   harmonizes California’s anti-SLAPP statute with the Federal Rules where, as here, the Court’s
   review is identical to that upon a Rule 12(b)(6) motion.

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March 10, 2020                    Ryan Lizza and Hearst Magazine Media, Inc.,
                                  Defendants

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                                   Certificate of Service

       The undersigned certifies that a true copy of Defendants’ Reply Brief in Further
Support of Their Motion to Dismiss, to Strike the Amended Complaint Pursuant to Cal.
Civ. Proc. Code § 425.16, and to Strike Pursuant to Fed. R. Civ. P. 12(f) was served upon the
following parties through the court’s CM/ECF electronic filing system on March 10, 2020.

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